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                    EXHIBIT 11
    Case 3:17-cv-00072-NKM-JCH Document 1150-11 Filed 10/04/21 Page 2 of 23 Pageid#:
                                        19254



From:                             Bolton, Eric
Sent:                             Monday, July 20, 2020 4:27 PM
To:                               jgravatt@dhdglaw.com; dhauck@dhdglaw.com; dcampbell@dhdglaw.com; jek318
                                  @gmail.com; isuecrooks@comcast.net; bryan@bjoneslegal.com;
                                  azzmador@gmail.com; deplorabletruth@gmail.com; matthew.w.heimbach@gmail.com;
                                  christopher.cantwell@gmail.com; eli.f.mosley@gmail.com;
                                  dillon_hopper@protonmail.com; rebrooklaw@gmail.com; richardbspencer@gmail.com
Cc:                               Levine, Alan; Siegel, Joshua; Roy III, Daniel P.
Subject:                          Sines v. Kessler (17-cv-00072 - W.D. Va.)
Attachments:                      2020-07-20_Amended Notice of Intent re deposition subpoenas to Rousseau.pdf

Follow Up Flag:                   Follow up
Flag Status:                      Completed


Gentlemen:

On behalf of Plaintiffs’ Counsel attached please find an amended notice of intent regarding the deposition of Thomas
Rousseau which will now take place on July 22 @ 10:30 a.m. Eastern Time.

Sincerely,
Eric Bolton
Cooley LLP




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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, THOMAS BAKER and JOHN
    DOE,

                                  Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
                                                Civil Action No. 3: 17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSELY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS, LEAGUE
    OF THE SOUTH, JEFF SCHOEP, NATIONAL
    SOCIALIST MOVEMENT, NATIONALIST
    FRONT, AUGUSTUS SOL INVICTUS,
    FRATERNAL ORDER OF THE ALT-
    KNIGHTS, LOYAL WHITE KNIGHTS OF THE
    KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                                 Defendants.




              AMENDED NOTICE OF INTENT TO SERVE SUBPOENAS
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         PLEASE TAKE NOTICE that pursuant to Rule 45 of the Federal Rules of Civil

  Procedure, Plaintiffs, by and through their undersigned counsel, hereby provide notice that they

  intend to serve the attached amended Subpoenas to Testify at a Deposition in a Civil Action

  directed to Thomas Rousseau, in his capacity as a Third-Party witness and FRCP 30(b)(6)

  witness for Defendant Vanguard America. The deposition will take place July 22, 2020,

  beginning at 9:30 a.m. CDT, and will continue from day to day until completed. The deposition

  will take place via videoconference, as agreed upon by the parties. The deposition will be

  conducted before an officer authorized by law to administer oaths, will be recorded by

  stenographic means, and recorded by video means and through the instant visual display of the

  testimony. The deposition will be taken for the purposes of discovery and all other purposes

  permitted by the Federal Rules of Civil Procedure.

  Dated: July 20, 2020

                                                       /s/ Alan Levine
                                                       Alan Levine (pro hac vice)
                                                       Daniel P. Roy III (pro hac vice)
                                                       Amanda L. Liverzani (pro hac vice)
                                                       COOLEY LLP
                                                       55 Hudson Yards
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                                                       aliverzani@cooley.com




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                                    19257



  Of Counsel:

   Roberta A. Kaplan (pro hac vice)         Robert T. Cahill (VSB 38562)
   Julie E. Fink (pro hac vice)             Scott W. Stemetzki (VSB 86246)
   Gabrielle E. Tenzer (pro hac vice)       COOLEY LLP
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                                            Karen L. Dunn (pro hac vice)
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   David E. Mills (pro hac vice)            William A. Isaacson (pro hac vice)
   Joshua M. Siegel (VSB 73416)             Katherine M. Cheng (pro hac vice)
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                                            Fax: (540) 983-7711
                                            brottenborn@woodsrogers.com


                                            Counsel for Plaintiffs




                                        3
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                                    19258



                                         CERTIFICATE OF SERVICE

          I hereby certify that on July 20, 2020, I served the foregoing upon following counsel and
  pro se defendants, via electronic mail, as follows:

   Justin Saunders Gravatt                                   James E. Kolenich
   David L. Hauck                                            Kolenich Law Office
   David L. Campbell                                         9435 Waterstone Blvd. #140
   Duane, Hauck, Davis & Gravatt, P.C.                       Cincinnati, OH 45249
   100 West Franklin Street, Suite 100                       jek318@gmail.com
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   dhauck@dhdglaw.com                                        5661 US Hwy 29
   dcampbell@dhdglaw.com                                     Blairs, VA 24527
                                                             isuecrooks@comcast net
   Counsel for Defendant James A. Fields, Jr.
                                                             Counsel for Defendants Matthew Parrott,
   Bryan Jones                                               Traditionalist Worker Party, Jason Kessler, Nathan
   106 W. South St., Suite 211                               Damigo, and Identity Europa, Inc. (Identity Evropa)
   Charlottesville, VA 22902
   bryan@bjoneslegal.com                                     Richard Spencer
                                                             richardbspencer@gmail.com
   Counsel for Defendants Michael Hill,
   Michael Tubbs, and League of the South                    Robert Ray
                                                             azzmador@gmail.com
   W. Edward ReBrook
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   edward@rebrooklaw.com
   rebrooklaw@gmail.com                                      Elliott Kline
                                                             eli.f.mosley@gmail.com
   Counsel for Defendants National Socialist Movement,       deplorabletruth@gmail.com
   Nationalist Front and Jeff Schoep

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   matthew.w heimbach@gmail.com

   Christopher Cantwell
   christopher.cantwell@gmail.com


                                                                /s/ Alan Levine
                                                                Alan Levine (pro hac vice)
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                                                                Fax: (212) 479-6275
                                                                alevine@cooley.com

                                                                Counsel for Plaintiffs

                                                         4
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                                    19259




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                                    19260




     Thomas R. Rousseau c/o his counsel Brent T. Gleason




                                                           July 22, 2020 @ 9:30 a.m. CDT




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     Thomas R. Rousseau (on behalf of Defendant Vanguard America),
     c/o his counsel Brent T. Gleason




                                                                     July 22, 2020 @ 9:30 a.m. CDT




    July 20, 2020
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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, THOMAS BAKER and JOHN
    DOE,

                                   Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
                                                 Civil Action No. 3: 17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSELY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS, LEAGUE
    OF THE SOUTH, JEFF SCHOEP, NATIONAL
    SOCIALIST MOVEMENT, NATIONALIST
    FRONT, AUGUSTUS SOL INVICTUS,
    FRATERNAL ORDER OF THE ALT-
    KNIGHTS, LOYAL WHITE KNIGHTS OF THE
    KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                                  Defendants.




                       AMENDED NOTICE OF DEPOSITION
                      OF DEFENDANT VANGUARD AMERICA
Case 3:17-cv-00072-NKM-JCH Document 1150-11 Filed 10/04/21 Page 16 of 23 Pageid#:
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          PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) of the Federal Rules of Civil

   Procedure, Plaintiffs, by and through their undersigned counsel, will take the deposition upon oral

   examination of Defendant Vanguard America at 9:30 a.m. CDT on July 22, 2020, and continuing

   from day to day until completed. The deposition will take place via videoconference, as agreed

   upon by the parties, or at such other location, date, method and time as may be mutually agreed

   upon by the parties. The deposition will be conducted before an officer authorized by law to

   administer oaths, will be recorded by stenographic means, and recorded by video means and

   through the instant visual display of the testimony. The deposition will be taken for the purposes

   of discovery and all other purposes permitted by the Federal Rules of Civil Procedure.

          NOTICE IS FURTHER GIVEN that, pursuant to Rule 30(b)(6) of the Federal Rules of

   Civil Procedure, Vanguard America shall designate one or more officers, directors, or managing

   agents, or other persons to testify on its behalf with respect to the matters designed in Exhibit A,

   attached hereto.

   Dated: July 20, 2020

                                                        /s/ Alan Levine
                                                        Alan Levine (pro hac vice)
                                                        Daniel P. Roy III (pro hac vice)
                                                        Amanda L. Liverzani (pro hac vice)
                                                        COOLEY LLP
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Case 3:17-cv-00072-NKM-JCH Document 1150-11 Filed 10/04/21 Page 17 of 23 Pageid#:
                                    19269



   Of Counsel:

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    Julie E. Fink (pro hac vice)             Scott W. Stemetzki (VSB 86246)
    Gabrielle E. Tenzer (pro hac vice)       COOLEY LLP
    Michael L. Bloch (pro hac vice)          11951 Freedom Drive, 14th Floor
    Alexandra K. Conlon (pro hac vice)       Reston, VA 20190-5656
    Emily C. Cole (pro hac vice)             Telephone: (703) 456-8000
    Jonathan R. Kay (pro hac vice)           Fax: (703) 456-8100
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    350 Fifth Avenue, Suite 7110             sstemetzki@cooley.com
    New York, NY 10118
    Telephone: (212) 763-0883                Yotam Barkai (pro hac vice)
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    jfink@kaplanhecker.com                   55 Hudson Yards, 20th Floor
    gtenzer@kaplanhecker.com                 New York, NY 10001
    mbloch@kaplanhecker.com                  Telephone: (212) 446-2300
    aconlon@kaplanhecker.com                 Fax: (212) 446-2350
    ecole@kaplanhecker.com                   ybarkai@bsfllp.com
    jkay@kaplanhecker.com
                                             Karen L. Dunn (pro hac vice)
    David E. Mills (pro hac vice)            Jessica E. Phillips (pro hac vice)
    Joshua M. Siegel (VSB 73416)             William A. Isaacson (pro hac vice)
    Caitlin B. Munley (pro hac vice)         Katherine M. Cheng
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    Washington, DC 20004                     Telephone: (202) 237-2727
    Telephone: (202) 842-7800                Fax: (202) 237-6131
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    jsiegel@cooley.com                       wisaacson@bsfllp.com
    cmunley@cooley.com                       kcheng@bsfllp.com

                                             John B. Rottenborn (VSB No. 84796)
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                                             10 South Jefferson Street, Suite 1400
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                                             Counsel for Plaintiffs




                                         3
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                                               EXHIBIT A

          In accordance with FRCP 30(b)(6), Plaintiffs designate the matters identified below for

   examination. In construing these topics, the following instructions and definitions shall apply:

   Definitions

          1.      “Amended Complaint” means the Second Amended Complaint filed in the above-

    captioned litigation as ECF docket entry number 557.

          2.      “Communication” means, in addition to its customary and usual meaning, every

    contact of any nature, whether documentary, electric, written, or oral, formal or informal, at any

    time or place and under any circumstances whatsoever whereby information of any nature is

    transmitted or transferred by any means, including but not limited to letters, memoranda, reports,

    emails, text messages, instant messages, social media postings, telegrams, invoices, telephone

    conversations, voicemail messages, audio recordings, face-to-face meetings and conversations,

    and any other form of communication or correspondence. Without limiting the foregoing in any

    manner, commenting as well as any act of expression that is not directed at a specific person, or

    otherwise may not be intended to provoke a response (such as social media posting, “likes,”

    “shares,” or any other form of reacting to another’s use of Social Media), are forms of

    communication.

          3.      “Concerning” means, in addition to its customary and usual meaning, relating to,

    pertaining to, referring to, alluding to, confirming, constituting, comprising, containing,

    commenting upon, responding to, discussing, describing, embodying, evaluating, evidencing,

    identifying, in connection with, involving, mentioning, noting, pertaining to, probative of, related

    to, relating to, reflecting, referring to, regarding, setting forth, supporting, stating, showing,

    touching upon, dealing with, assessing, recording, bearing upon, connected with, in respect of,

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   about, indicating, memorializing, proving, suggesting, having anything to do with, contradicting,

   and summarizing in any way, directly or indirectly, in whole or in part, the subject matter referred

   to in the Deposition Topic.

         4.      “Document” or “Documents” means documents broadly defined in FRCP Rule 34,

   and includes (i) papers of all kinds, including but not limited to, originals and copies, however

   made, of letters, memoranda, hand-written notes, notebooks, work-pads, messages, agreements,

   rough drafts, drawings, sketches, pictures, posters, pamphlets, publications, news articles,

   advertisements, sales literature, brochures, announcements, bills, receipts, credit card statements,

   and (ii) non-paper information of all kinds, including but not limited to, any computer generated

   or electronic data such as digital videos, digital photographs, audio recordings, podcasts, Internet

   files (including “bookmarks” and browser history), online articles and publications, website

   content, electronic mail (e-mail), electronic chats, instant messages, text messages, uploads,

   posts, status updates, comments, “likes”, “shares”, direct messages, or any other use of Social

   Media, and (iii) any other writings, records, or tangible objects produced or reproduced

   mechanically, electrically, electronically, photographically, or chemically. Without limiting the

   foregoing in any way, every Communication is also a Document

         5.      “Events” means the occurrences and activities described in Paragraphs 44 to 334 of

   the Amended Complaint.

         6.      “Person” means any natural person and/or any other cognizable entity, including

   but not limited to corporations, proprietorships, partnerships, joint ventures, and/or associations,

   whether formal or informal.

         7.      “Social Media” means any forum, website, application, or other platform on which

   persons can create, transmit, share, communicate concerning, or comment upon any information,



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    ideas, or opinions, or otherwise engage in social networking. Without limiting the foregoing in

    any manner, and by way of example only, the following are social media platforms: comment

    sections of websites, Facebook, Discord, Reddit, Imgur, SnapChat, Instagram, Google+, 4chan,

    8chan, Twitter, Tumblr, YouTube, and instant messaging services such as Signal, WhatsApp,

    Messenger, Hangouts, or Skype. Without limiting the foregoing in any manner, and by way of

    example only, the following are methods of using social media platforms: uploading, posting,

    commenting, reacting (e.g., “liking” a post), and sharing.

          8.      “Social Media Handle” means the unique identifier (whether a name, nickname,

    user name, avatar, image, or otherwise) associated with a user of Social Media. A Social Media

    Handle includes, for example, your unique Discord user handle including a four-digit number at

    the end of that handle.

          9.      “You,” “Your,” or “Yours” refers to the Defendants to whom the Deposition Topics

    are addressed and includes any persons or entities acting for them or on their behalf, including

    but not limited to all representatives, servants, agents, employees, officers, affiliates, subsidiaries,

    parent companies, third parties, attorneys, as well as any entities over which any of the

    Defendants have control.

   The deponent shall be prepared to address the following topics:

            1.    All steps taken by You to search for, collect, identify, produce, or withhold

    Documents in response to Plaintiffs’ discovery requests in this Action.

          2.      Your responses and objections to Plaintiffs’ Interrogatories, Requests for

   Production, and Requests for Admissions.

          3.      Your Answer to Plaintiffs’ Amended Complaint (ECF docket entry number 343),

   and all evidence supporting Your Answer.


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          4.      Your organizational structure, including Your governance structure, and the

   identities, job titles, and responsibilities of any officers, employees, agents, and independent

   contractors employed by You.

          5.      Your membership structure, including the identities of all members, any

   membership lists, any titles, any requirements for membership, and any means of communicating

   with and among Your members.

          6.      Your members’ use of Social Media, including but not limited to Discord, and any

   of Your members who were directed, authorized, encouraged, or otherwise permitted to speak on

   behalf of You on any Social Media platform.

          7.      The Social Media Handle for any of Your members in response to topic 6, including

   but not limited to Discord Social Media Handles.

          8.      The steps You took to prepare for the Events, including planning the Events with

   outside organizations and any planning that occurred within Your organization, and any

   Communications relating to such planning, including those relating to tactical, offensive, or

   defensive preparations for the Events.

          9.      Communications with Your members and members of outside organizations on

   May 13, 2017, before, during and after the Events.

          10.     Communications with Your members and members of outside organizations on

   July 8, 2017, before, during and after the Events.

          11.     Communications with Your members and members of outside organizations on

   August 11 and August 12, 2017, before, during, and after the Events.

          12.     Your involvement in the Events, and actions You and Your members took while

   participating in the Events.



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             13.   Communications with and Documents provided to Your members related to the

   Events.

             14.   Communications with and Documents provided to members of the media and the

   creation and content of any blogs, websites, or social media accounts promoting Your organization

   related to the Events.

             15.   Any Communications after August 12, 2017 relating to the Events on August 11-

   12, 2017, including Communications relating to the Event participants, the perceived success or

   failure of the Events, and the death of Heather Heyer.

             16.   Any Communications with Your members or members of outside organizations and

   any Documents relating to Your participation or nonparticipation in Unite the Right 2.0.

             17.   All Documents reviewed in preparation for this deposition, including an

   identification of all Documents that refreshed the deponent’s recollection.

             18.   The identity of all Persons with knowledge about topics 1-17.




                                                   8
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                                    19275



                                          CERTIFICATE OF SERVICE

           I hereby certify that on July 20, 2020, I served the foregoing upon following counsel and
   pro se defendants, via electronic mail, as follows:

    Justin Saunders Gravatt                                   James E. Kolenich
    David L. Hauck                                            Kolenich Law Office
    David L. Campbell                                         9435 Waterstone Blvd. #140
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    100 West Franklin Street, Suite 100                       jek318@gmail.com
    Richmond, VA 23220
    jgravatt@dhdglaw.com                                      Elmer Woodard
    dhauck@dhdglaw.com                                        5661 US Hwy 29
    dcampbell@dhdglaw.com                                     Blairs, VA 24527
                                                              isuecrooks@comcast net
    Counsel for Defendant James A. Fields, Jr.
                                                              Counsel for Defendants Matthew Parrott,
    Bryan Jones                                               Traditionalist Worker Party, Jason Kessler, Nathan
    106 W. South St., Suite 211                               Damigo, and Identity Europa, Inc. (Identity Evropa)
    Charlottesville, VA 22902
    bryan@bjoneslegal.com                                     Richard Spencer
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    Counsel for Defendants Michael Hill,
    Michael Tubbs, and League of the South                    Robert Ray
                                                              azzmador@gmail.com
    W. Edward ReBrook
    The ReBrook Law Office                                    Vanguard America
    6013 Clerkenwell Court                                    c/o Dillon Hopper
    Burke, VA 22015                                           dillon_hopper@protonmail.com
    rebrooklaw@gmail.com
                                                              Elliott Kline
    Counsel for Defendants National Socialist Movement,       eli.f.mosley@gmail.com
    Nationalist Front and Jeff Schoep                         deplorabletruth@gmail.com

    Matthew Heimbach
    matthew.w heimbach@gmail.com

    Christopher Cantwell
    christopher.cantwell@gmail.com



                                                                 /s/ Alan Levine
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                                                                 New York, NY 10001
                                                                 Telephone: (212) 479-6260
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